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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. 2:21-cv-02767-SVW-PD                                  Date: November 2, 2021
 Title       Charles Dunkentell v. Alex Villanueva, et al.,



 Present: The Honorable:             Patricia Donahue, U.S. Magistrate Judge


                 Isabel Martinez                                    N/A
                  Deputy Clerk                            Court Reporter / Recorder

      Attorneys Present for Plaintiff:              Attorneys Present for Defendants:
                   N/A                                            N/A

 Proceedings:          (In Chambers) Order to Show Cause Re: Dismissal

       On March 29, 2021, Plaintiff Charles Dunkentell filed a pro se civil
 rights complaint pursuant to 42 U.S.C. § 1983 alleging that he was physically
 assaulted in violation of his rights under the Eighth Amendment while he
 was in custody at the Los Angeles County Men’s Central Jail (“LACMCJ”).
 [Dkt. No. 1 at 5.] He sues Defendants Los Angeles County Sheriff Alex
 Villanueva and Los Angeles County Sheriff’s Department Deputies Does 1
 through 4. [Id. at 3-4.] Plaintiff alleges that Defendants used excessive force
 and failed to protect him in violation of his rights under the Eighth
 Amendment. [Id. at 5.] He seeks monetary and punitive damages, along
 with declaratory relief. [Id. at 6.]

        On April 8, 2021, the Court dismissed the Complaint with leave to
 amend. [Dkt. No. 5.] The Court ordered Plaintiff to file, no later than May
 28, 2021, a First Amended Complaint that corrected the defects identified by
 the Court in its April 8, 2021 Order. [Id.] Plaintiff requested and received
 three extensions of time to file a First Amended Complaint. [See Dkt. Nos. 8,
 9, 10, 12, 15, 16.] Plaintiff’s First Amended Complaint was due on October
 15, 2021. [Dkt. No. 16.] More than two weeks have passed since Plaintiff’s
 First Amended Complaint was due, and Plaintiff has neither filed his First
 Amended Complaint nor communicated with the Court about his case since
 August 4, 2021.


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        Pursuant to Rule 41(b) of the Federal Rules of Civil Procedure, an
 action may be subject to involuntary dismissal if a plaintiff “fails to prosecute
 or to comply with these rules or a court order.” Accordingly, the Court could
 properly recommend dismissal of the action for Plaintiff’s failure to timely
 comply with the Court’s August 5, 2021 Order.

       However, in the interests of justice, Plaintiff is ORDERED TO
 SHOW CAUSE on or before November 16, 2021, why the Court should
 not recommend that this action be dismissed for failure to prosecute.

         Plaintiff may discharge this Order by filing:

                (1) a request setting forth good cause for an extension of time to
         file a First Amended Complaint and a declaration signed under penalty
         of perjury, explaining why he failed to comply with the Court’s August
         5, 2021 Order; or
                (2) a First Amended Complaint.

        Alternatively, if Plaintiff does not wish to pursue this action, he may
 file a signed document entitled “Notice of Voluntary Dismissal” pursuant to
 Rule 41(a)(1)(A). The Clerk is directed to provide Plaintiff with a
 Form CV-09 Notice of Dismissal.

       Plaintiff is advised that the failure to timely comply with this order
 may result in the dismissal of this case pursuant to Fed. R. Civ. P. 41(b) and
 Local Rule 41-1.

 IT IS SO ORDERED.



                                                       Initials of Preparer      :
                                                                                im




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